           Case 5:22-cv-00252-JKP Document 8 Filed 04/21/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 THE BANK OF NEW YORK MELLON                          §
 AS TRUSTEE FOR CWABS, INC.                           §
 ASSET-BACKED CERTIFICATES,                           §
 SERIES 2005-4,                                       §
                                                      §
        Plaintiff,                                    §
                                                      §
 v.                                                   §   Civil Action No. SA-22-CV-00252-JKP
                                                      §
 JUSTIN BLAKE ALEXANDER, CODY                         §
 PHILLIP ALEXANDER, and BRANDY                        §
 NICOLE ALEXANDER,                                    §
                                                      §
         Defendants.                                  §

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff The Bank of New York Mellon as Trustee for CWABS, Inc. Asset-Backed

Certificates, Series 2005-4 (“Plaintiff” or “BNYM”). files this its Notice of Voluntary Dismissal

Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and respectfully

shows the Court as follows:

                                                 I.

        Plaintiff files this its Notice of Voluntary Dismissal (“Notice”) pursuant to Rule 41

(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Plaintiff files this Notice before any of the

defendants have filed an answer or motion for summary judgment. As such, Plaintiff voluntarily

dismisses the claims it has asserted herein against defendants without prejudice to the re-filing of

same.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Plaintiff’s claims

against defendants be dismissed without prejudice, that no prejudice attach to such dismissal, and

that Plaintiff be awarded all other relief to which Plaintiff may be entitled.


PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL                                                PAGE 1 OF 2
MWZM: 21-000154-850
        Case 5:22-cv-00252-JKP Document 8 Filed 04/21/22 Page 2 of 2




                                              Respectfully submitted,

                                            By: /s/ Nicholas M. Frame
                                                MARK D. CRONENWETT
                                                Texas Bar No. 00787303
                                                mcronenwett@mwzmlaw.com

                                               NICHOLAS M. FRAME
                                               Texas Bar No. 24093448
                                               nframe@mwzmlaw.com

                                             MACKIE WOLF ZIENTZ & MANN, P.C.
                                             14160 N. Dallas Parkway, Suite 900
                                             Dallas, Texas 75254
                                             214-635-2650 (Phone)
                                             713-730-3212 (Direct)
                                             214-635-2686 (Fax)

                                             ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL                                     PAGE 2 OF 2
MWZM: 21-000154-850
